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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Honorable Robert E. Blackburn
Criminal Case No.: 05-CR-342-REB
UNITED STATES OF AMERICA.
Plaintiff,
¥.
1. SHAWN SHIELDS

Defendant.

 

MOTION FOR PERMISSION TO ALLOW STAND-BY COUNSEL

 

COMES NOW the Defendant, Shawn Shields, by and through Counsel and
respectfully requests this honorable Court for an order allowing stand-by counsel for
Richard Irvin on December 12. 2005 from 1:00pm until 3:00pm.

As grounds for said motion, Defendant states as follows:

l. That Defendant’s Counsel, Richard Irvin, must be in Longmont for pre-
alranged court appearances.

2. That Mitch Baker, 303-502-7314, would be stand-by counsel for
Richard Irvin.

WHEREFORE, Defendant respectfully requests this honorable Court for an order
allowing Mitch Baker to be stand-by counsel for Richard Irvin on December 12.
2005 from 1:00pm until 3:00 pm.

Respectfully submitted.

S/Richard D. Irvin _
Richard D. Irvin (#5252)
Attomey for Shawn Shields
1443 Spruce Street
Boulder, CO 80302
303-543-0337
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CERTIFICATE OF SERVICE

I hereby certify that on 12" day of December 2005, a true and correct copy of the
foregoing MOTION FOR PERMISSION TO ALLOW STAND-BY COUNSEL was

sent and addressed to the following:

The Honorable Robert E. Blackburn
United States District Court

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Denver. CO 80202

Matthew Kirsch

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J. Michael Dowling
303 E. 17" Ave., Suite 200
Denver. CO 80203

s/Brooke Thompson
